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                                     Grow better with the right TEAM.
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                                    multiple team members devoted to your success. Our clients don't work with an "agent".


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                                                                          Send us a general inquiry. We're here to answer any questions
                  General Inquiries:                                                                 you may have.

                      Let's work together.
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                                                                                           Iwona - Accounting

                                                                                           Ziggy - Photography

                                                                                         Chris - Head Acquisitions
                  Behind the scenes:                                                   David - Property Preservation
             Other team members that work with us.
                                                                                  Joe + Kevin - Contracting/Maintenance

                                                                                             Kari - Insurance




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